            Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 1 of 14




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 APPLICATION AND AFFIDAVIT OF THE
 UNITED STATES OF AMERICA
 FOR A SEARCH WARRANT                             Magistrate No. 21-881
 AUTHORIZING THE OPENING OF                       [UNDER SEAL]
 UNITED STATES PRIORITY MAIL
 PARCEL 9505 5100 4992 1110 3398 96

                   AFFIDAVIT IN SUPPORT OF AN APPLICATION
              UNDER RULE 41 FOR A WARRANT TO SEARCH AND SEIZE
                  BY ELECTRONIC OR OTHER RELIABLE MEANS

       I, Adam E. Gaab being duly sworn, depose and state the following:

I.     INTRODUCTION AND AGENT BACKGROUND

       1.       I am a Special Agent with the USPS-OIG and have been so employed since August

2017. As part of my duties, I am assigned to the Pittsburgh Resident Office, with an assigned

territory of the Western Judicial District of Pennsylvania.         My responsibilities include

investigations of narcotics, specifically pertaining to violations committed by employees of the

United States Postal Service (“USPS”). Prior to working as a Special Agent with the USPS-OIG,

I worked as a Special Agent with the United States Secret Service (USSS), where I was employed

from January 2010 to August 2017. As a Special Agent with the USSS, I was responsible for

investigations of financial crimes such as access device fraud, bank fraud and forgery. I also

assisted with investigations dealing with the possession, manufacturing, and distribution of

controlled substances. I have assisted in undercover operations and executed various search and

arrest warrants. I have debriefed informants. Before becoming a Special Agent, I received training

at the Federal Law Enforcement Training Center (FLETC), where I was trained in narcotics

trafficking, money laundering, undercover operations, confidential informants, and electronic and
            Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 2 of 14




physical surveillance techniques. The following information has been obtained by me personally

or has been provided to me by postal employees and other law enforcement officers.

       2.       I am currently assigned to the DEA Pittsburgh Airport Office Group 63 and have

been so employed since December 2019. As a Task Force Agent, your Affiant has participated in

a number of narcotics and money laundering investigations, which have resulted in the seizure of

illegal drugs and evidence of drug violations, as well as the seizure of assets acquired with drug

proceeds. Your Affiant has conducted covert surveillance of suspected drug traffickers on

numerous occasions, interviewed numerous individuals involved in the drug trafficking trade,

participated in the execution of numerous search and arrest warrants, assisted in the arrest of drug

traffickers, and assisted in the seizure of controlled substances. Based upon the above experience,

your Affiant is familiar with the modus operandi of persons involved in illicit distribution of

controlled substances, as well as the terminology used by persons involved in the illicit distribution

of controlled substances. Your Affiant is aware that persons involved in the illicit distribution of

controlled substances routinely attempt to conceal their identities, as well as the location at which

drug transactions take place.

       3.       Experience and drug trafficking intelligence have demonstrated that U.S Mail

Priority Mail Express and Priority Mail, and United Parcel Service (UPS) parcels are commonly

used to transport drugs and drug proceeds because of their reliability and the time constraints they

place on law enforcement agents to execute a successful controlled delivery.

       4.       I have been involved in the investigation and discovery of drug contraband and

drug proceeds. I have personally been the affiant for search warrants, including a warrant which

has resulted in the discovery of controlled substances and drug proceeds. My current assignment

involves investigating the use of the U.S. Mail by drug traffickers, in which established drug
             Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 3 of 14




package profiles, surveillance, and drug detection dogs, among other investigative tools, are

utilized.

        5.       The facts set forth in this affidavit are based on my personal knowledge, knowledge

obtained during my participation in this investigation, knowledge obtained from other individuals,

review of records related to this investigation, communications with others who have personal

knowledge of the events and circumstances described herein, and information gained through my

training and experience. Because this affidavit is submitted for the limited purpose of establishing

probable cause in support of the application for a search warrant, this affidavit does not set forth

each and every fact learned by me during the course of this investigation.

II.     PURPOSE OF THIS AFFIDAVIT AND THE SEARCH LOCATION

        6.       On April 21, 2021, USPS-OIG SA Neil Carman recovered Priority Mail parcel

bearing USPS tracking number 9505 5100 4992 1110 3398 96 (“TARGET PARCEL”) from the

Pennwood Place Processing and Distribution Center (“P&DC”), located at 51 Pennwood Place,

Warrendale, PA 15086.

        7.       The TARGET PARCEL is addressed to “TYLER GARRINGER, 208 HULL

RUN RD., WAYNESBURG, PA 15370” with a return address of “AUSTIN GARRINGER, 1081

MCGEE DR, RENO, NV 89523.”               The TARGET PARCEL is a brown box, measuring

approximately 15” X 12” X 10” and weighing approximately 12 pounds and 15 ounces. (A

photograph of the shipping label on the parcel is addressed as Exhibit 1.) The parcel is currently

located in the Western District of Pennsylvania.

        8.       Based on my training, experience, and knowledge of the investigation, I believe

that the TARGET PARCEL possesses characteristics of other seized parcels that are associated

with a drug trafficking organization operating in the Western District of Pennsylvania (and



                                                   3
            Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 4 of 14




elsewhere), which is led in the Western District of Pennsylvania by Derek HILLEBRAND (“the

HILLEBRAND Drug Trafficking Organization” or “the HILLEBRAND DTO.”) For the reasons

set forth below, including the intercepted communications, your Affiant submits that the

TARGET PARCEL is associated with the HILLEBRAND DTO and that there is probable cause

to believe that it contains controlled substance(s).

III.   PROBABLE CAUSE

       9.       Because this Affidavit is submitted for the limited purpose of establishing probable

cause that the TARGET PARCEL contains evidence of violation(s) of Title 21, United States

Code, Sections 841 and/or 846, I have not included every fact known to me that was gathered

during this extensive investigation into the HILLEBRAND DTO.

       A.       BACKGROUND OF THIS INVESTIGATION

       10.      A joint investigation conducted by the Drug Enforcement Administration (DEA),

United States Postal Service – Office of Inspector General (USPS-OIG), Pennsylvania State Police

(PSP), Homeland Security Investigations (“HSI”), and the United States Postal Inspection Service

(USPIS) has revealed the HILLEBRAND DTO is an organization that is responsible for the

trafficking and distribution of large amounts of methamphetamine and marijuana from

California/Nevada to Pennsylvania through the United States Postal Service (“Postal Service”) and

United Parcel Service (UPS). The HILLEBRAND DTO also transports narcotics proceeds from

the distribution of controlled substances via the Postal Service to the Modesto/Manteca, CA area

from Pennsylvania. Agents have reviewed characteristics of dozens of suspicious parcels and

through that examination, believe that the Organization’s parcels typically have similar

characteristics, such as the mail type (i.e., priority U.S. Mail or UPS), origin (i.e.,

Modesto/Manteca), and the method of postage payment, the weight, and the destination/return
         Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 5 of 14




mailing addresses. Agents believe that the Organization’s parcels are usually priority mail parcels

that originate in Modesto/Manteca, CA and Reno, NV area.

       B. INTERCEPTED COMMUNICATIONS

       11.     On November 24, 2020, Chief United States District Judge Mark R. Hornak,

Western District of Pennsylvania, at Misc. No. 20-1594, authorizing the initial interception of wire

and electronic communications occurring over 470-330-0246 and 814-590-6231, both utilized by

HILLEBRAND. Investigators continued to monitor the lines until 11:59 PM on December 13,

2020, at which point Investigators ceased monitoring the lines.

       12.     On December 22, 2020, Chief United States District Judge Mark R. Hornak,

Western District of Pennsylvania, at Misc. No. 20-1594(a), authorizing the initial interception of

wire and electronic communications occurring over 617-352-9880, which was utilized by

HILLEBRAND. The order expired at midnight on January 20, 2021, 30 days after the interception

of communications began.

       13.     On January 27, 2021, Chief United States District Judge Mark R. Hornak, Western

District of Pennsylvania, at Misc. No. 20-1594(b), authorizing the renewed interception of wire

and electronic communications       occurring over 814-590-6231, utilized by HILLEBRAND;

authorizing the initial interception of wire and electronic communications occurring over 209-401-

5074, utilized by CHARLAN; authorizing the initial interception of wire communications

occurring over 814-232-5100, utilized by ADEKUNLE; and authorizing the initial interception of

wire and electronic communications occurring over 814-661-0321, utilized by SCHOENING. The

interception of those wire and electronic communications began on January 27, 2021 and expired

at midnight on February 25, 2021, 30 days after the interception of communications began.




                                                 5
         Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 6 of 14




       14.    On February 22, 2021, Chief United States District Judge Mark R. Hornak, Western

District of Pennsylvania, at Misc. No. 20-1594(c), authorizing the renewed interception of wire

and electronic communications occurring over 209-401-5074, utilized by CHARLAN; authorizing

the initial interception of wire and electronic communications occurring over 412-216-0999,

utilized by CHARLAN; authorizing the initial interception of wire communications occurring over

209-641-2752, utilized by MALDONADO.              The interception of those wire and electronic

communications began on February 23, 2021 and expired at midnight on March 24, 2021, 30 days

after the interception of communications began.

       15.    On April 7, 2021, Chief United States District Judge Mark R. Hornak, Western

District of Pennsylvania, at Misc. No. 20-1594(d), authorizing the renewed interception of wire

and electronic communications occurring over 412-216-0999, utilized by CHARLAN; authorizing

the initial interception of wire and electronic communications occurring over 209-277-4531,

utilized by RAZO. The interception of those wire and electronic communications over 412-216-

0999 began on April 7, 2021 and is scheduled to expire at midnight on May 6, 2021, 30 days after

the interception of communications began. The interception of wire and electronic

communications over 209-222-4531 began on April 8, 2021 and was scheduled to expire at

midnight on May 7, 2021, 30 days after the interception of communications began. However,

from April 8, 2021 through April 21, 2021, there no communications were intercepted over 209-

277-4531. Your Affiant believes that RAZO stopped using 209-277-4531 as a result of the arrest

of his methamphetamine supplier, Benjamin MEDINA, by DEA agents in the Eastern District of

California on April 5, 2021.     Because there were no intercepted communications, agents

terminated the wiretap, and the discs for TARGET TELEPHONE 9 were sealed on April 21, 2021.
          Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 7 of 14




        16.     Pursuant to that Order, agents intercepted the following communications, which

further evidences the TARGET PARCEL’s association with the HILLEBRAND DTO and that

its contents likely contain narcotics:

        17.     On April 14, 2021, at approximately 4:19 PM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to DOUGHERTY utilizing the 412-328-0250, stating, “You trying

to stick with 10 lbs or u wanna do 20?.” Based on your Affiant’s training, experience, and

knowledge of this investigation, I believe CHARLAN asked DOUGHERTY if DOUGHERTY

wanted to purchase either 10 or 20 pounds of methamphetamine on his next transaction.

        18.     On April 14, 2021, at approximately 8:49 PM, CHARLAN, utilizing 412-216-

0999, received an incoming text from DOUGHERTY utilizing the 412-328-0250, stating, “I’m

down for 20 by the way.” Based on your Affiant’s training, experience, and knowledge of this

investigation, I believe DOUGHERTY advised CHARLAN that DOUGHERTY wanted to order

20 pounds of methamphetamine.

        19.     On April 15, 2021, at approximately 3:17 PM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to DOUGHERTY utilizing the 412-328-0250, stating, “I’m trying

to get this kream 1 to u but I like to be sure to be paid up before I send more of this stuff you know.”

Based on your Affiant’s training, experience, and knowledge of this investigation, I believe

CHARLAN advised DOUGHERTY that DOUGHERTY needed to pay CHARLAN the money

that DOUGHERTY owed to CHARLAN from a previous narcotics transaction before CHARLAN

would mail DOUGHERTY more methamphetamine.




1
 Your Affiant is aware that the members of the HILLEBRAND DTO refer to methamphetamine
as “cream” or “kream.” Specifically, parcels that have been referred to as containing “cream” or
“kream” by the Organization have been seized and found to contain methamphetamine.
                                                   7
         Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 8 of 14




       20.     On April 18, 2021, at approximately 11:55 PM, CHARLAN, utilizing 412-216-

0999, received an incoming text from DOUGHERTY utilizing the 412-328-0250, stating, “You

wanna do get that headed my way tomorrow?” Based on your Affiant’s training, experience, and

knowledge of this investigation, I believe DOUGHERTY asked CHARLAN if CHARLAN

planned on mailing DOUGHERTY a shipment of methamphetamine the following day.

       21.    On April 19, 2021, at approximately 12:05 AM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to DOUGHERTY utilizing the 412-328-0250, stating, “Yeah that’s

what I’m working on now.” Based on your Affiant’s training, experience, and knowledge of this

investigation, I believe CHARLAN advised DOUGHERTY that CHARLAN was make

arrangements to receive a large quantity of methamphetamine.

       22.    On April 19, 2021, at approximately 12:05 AM, CHARLAN, utilizing 412-216-

0999, received an incoming text from DOUGHERTY utilizing the 412-328-0250, stating,

       “235 East Main St Floor 2
       Carnegie, PA. 15106
       Male.”

       23.     Based on your Affiant’s training, experience, and knowledge of this

investigation, I believe DOUGHERTY advised CHARLAN to mail a shipment of

methamphetamine to 235 East Main Street, Floor 2 located in Carnegie, PA. 15106.

       24.    On April 19, 2021, at approximately 12:35 AM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to MALDONADO utilizing the 209-641-2752, stating, “Bro I

could probably front 21 from him if he got it lol.” Based on your Affiant’s training, experience,

and knowledge of this investigation, I believe CHARLAN advised MALDONADO, who

investigators know is a co-conspirator of CHARLAN’s who obtains methamphetamine from

suppliers and packages the methamphetamine for shipment to the Western District of
        Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 9 of 14




Pennsylvania, that CHARLAN would order 21 pounds of methamphetamine from

MALDONADO’s supplier if the supplier had it available.

      25.    On April 19, 2021, at approximately 1:39 AM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to DOUGHERTY utilizing the 412-328-0250, stating, “Ok Send

me a second add.” Based on your Affiant’s training, experience, and knowledge of this

investigation, I believe CHARLAN asked DOUGHERTY to send CHARLAN a second address

to receive a second shipment of methamphetamine.

      26.    On April 19, 2021, at approximately 1:39 AM, CHARLAN, utilizing 412-216-

0999, received an incoming text from DOUGHERTY utilizing the 412-328-0250, stating, “You

just sending both tomorrow?” Based on your Affiant’s training, experience, and knowledge of

this investigation, I believe DOUGHERTY asked CHARLAN if CHARLAN was going to mail

DOUGHERTY two parcels of methamphetamine.

      27.    On April 19, 2021, at approximately 1:54 AM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to DOUGHERTY utilizing the 412-328-0250, stating, “Yeah my

cousin gonna box them up now.” Based on your Affiant’s training, experience, and knowledge

of this investigation, I believe CHARLAN advised DOUGHERTY that MALDONADO was

packing the methamphetamine in two separate parcels to be mailed.

      28.    On April 20, 2021, at approximately 12:13 AM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to MALDONADO utilizing the 412-328-0250, stating, “Ok. But I

can send Chris to pick up the two boxes in the am?” Based on your Affiant’s training,

experience, and knowledge of this investigation, I believe CHARLAN asked MALDONADO if

the methamphetamine was packaged into two boxes so he could send his courier, who

Investigators know to be a co-conspirator named Chris ROBERSTON, to pick up the



                                              9
        Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 10 of 14




methamphetamine and to mail it to DOUGHERTY.

       29.      On April 20, 2021, at approximately 1:26 PM, CHARLAN, utilizing 412-216-

0999, received an incoming text from DOUGHERTY utilizing the 412-328-0250, stating,

       “208 Hull Run Rd
       Wayneburg, PA 15370
       Male.”

       30.      Based on your Affiant’s training, experience, and knowledge of this investigation,

I believe DOUGHERTY advised CHARLAN to mail the methamphetamine to 208 Hull Run

Road in Waynesburg, PA 15370, and that the recipient name should be a male’s name. Your

Affiant is aware the TARGET PARCEL is addressed to Tyler Garringer at 208 Hull Run Rd,

Waynesburg, PA 15370.

       31.      On April 20, 2021, at approximately 1:27 PM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to DOUGHERTY utilizing the 412-328-0250, stating,

       “Tyler Garringer
       208 Hull Run Road
       Waynesburg, PA. 15370”

       32.      Based on your Affiant’s training, experience, and knowledge of this investigation,

I believe CHARLAN advised DOUGHERTY that CHARLAN was mailing the

methamphetamine to Tyler Garringer at 208 Hull Run Rd, Waynesburg, PA 15370. Your Affiant

is aware the TARGET PARCEL is addressed to Tyler Garringer at 208 Hull Run Rd,

Waynesburg, PA 15370.

       33.      On April 20, 2021, at approximately 4:34 PM, CHARLAN, utilizing 412-216-

0999, placed an outgoing text to ROBERTSON utilizing the 775-437-8044, stating,

       “ From

       Austin Garringer
         Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 11 of 14




       1081 McGee Drive

       Reno, NV. 89523

       To

       Tyler Garringer

       208 Hull Run Road

       Waynesburg, PA. 15370.”

       34.    Based on your Affiant’s training, experience, and knowledge of this investigation,

I believe CHARLAN advised ROBERTSON to mail the methamphetamine to 208 Hull Run Rd,

Waynesburg, PA 15370. Your Affiant is aware the receiving address of the TARGET

PARCEL is Tyler Garringer 208 Hull Run Rd, Waynesburg, PA 15370.

       35.    I believe, based on my training and experience and knowledge of this

investigation, that the TARGET PARCEL possess characteristics of the HILLEBRAND DTO

profile and contains methamphetamine.

       C.     NARCOTICS K-9 POSITIVELY ALERTED ON THE TARGET PARCEL

       36.    In view of the foregoing, the TARGET PARCEL was subjected to examination

by drug canine dog, “Solo.” 2 Solo and his handler, Allegheny County K-9 Police Officer/DEA

TFO Steven Dawkin, was requested to conduct an examination of the TARGET PARCEL with

Solo. TFO Dawkin informed me that Solo has been used in numerous police searches and in

training exercises and has shown a high proficiency in locating hidden drugs.




2
 Solo is certified as a drug detection dog for marijuana, cocaine, heroin, methamphetamine,
oxycontin, and ecstasy. A certification of Officer Dawkin and Solo is attached hereto as
Exhibit 2.
                                               11
           Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 12 of 14




          37.    On April 22, 2021, Solo examined the TARGET PARCEL. According to Officer

Dawkin, Solo positively alerted to the suspicious package, indicating the presence of controlled

substances within it, at approximately 9:07 AM.

          38.    If approved, the search warrant that is being requested herein will be executed on

the TARGET PARCEL in the Western District of Pennsylvania. If controlled substances are

found inside, then then law enforcement officers will seize the contents of the parcel and the parcel

information will be submitted for subsequent future investigations.

IV.       CONCLUSION

          39.    Based upon my training, experience, and expertise as a Special Agent, I submit

there is probable cause to search the TARGET PARCEL (United States Priority Mail bearing

USPS tracking number 9505 5100 4992 1110 3398 96) for controlled substances and other

evidence of violations of Title 21, United States Code, Sections 841(a)(1), 843(b), and 846, and

Title 18, United States Code, Section 1716.

          The above information is true and correct to the best of my knowledge, information and

belief.


                                              /s/Adam E. Gaab
                                              Special Agent Adam E. Gaab
                                              U.S. Postal Service – Office of Inspector General



Sworn to before me telephonically
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A),
this 23rd day of April 2021.


___________________________________
HONORABLE PATRICIA L. DODGE
UNITED STATES MAGISTRATE JUDGE
Western District of Pennsylvania
Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 13 of 14
Case 2:21-mj-00881-PLD Document 2 Filed 04/22/21 Page 14 of 14
